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 5

 6
       Attorneys for Plaintiff

 7

 8                          UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10

11

12      DAVID DOYLE,                                             Case No:18-CV-5412-DMG-(FFMx)
13
                     Plaintiff,
14
              vs.                                                JOINT MOTION FOR
15                                                               STIPULATION OF
        FAST ADVANCE FUNDING LLC.,                               VOLUNTARY DISMISSAL OF
16
                                                                 WITH PREJUDICE
17                   Defendants.
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22                     STIPULATION OF VOLUNTARY DISMISSAL
23                        PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)
24
       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or
25
       their respective counsel(s) that, pursuant to the Federal Rules of Civil Procedure
26

27     41(a)(1)(A)(ii), the above-captioned action is voluntarily dismissed, with
28
       prejudice against Defendant, FAST ADVANCE FUNDING LLC, with each party

                                  Stipulation of Voluntary Dismissal Of Entire Action
     Case 2:18-cv-05412-DMG-FFM Document 22 Filed 04/16/19 Page 2 of 4 Page ID #:104




 1
       to bear their own attorney’s fees and costs. No other Defendants remaining, it is
 2     hereby stipulated that the entire case be dismissed.
 3
       DATED: April 16, 2019                       PRATO & REICHMAN, APC
 4

 5                                                 __/s/ Justin Prato Esq.______
 6
                                                   By: Justin Prato, Esq.
                                                   Prato & Reichman, APC
 7                                                 Attorneys for Plaintiff
 8                                                 DAVID DOYLE
 9
       DATED: April 16, 2019                       REVOLVE LAW GROUP, LLP
10

11
                                                   __/s/___Kimberly A. Wright Esq___
12                                                 Kimberly A. Wright, Esq.
13                                                 Revolve Law Group, LLP
                                                   Attorneys for Defendant
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                                                   FAST ADVANCE LLC
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                              Stipulation of Voluntary Dismissal Of Entire Action
     Case 2:18-cv-05412-DMG-FFM Document 22 Filed 04/16/19 Page 3 of 4 Page ID #:105




 1
                                           ATTESTATION
 2           I hereby attest that Kimberly Wright has given me approval to affix her
 3
       electronic signature to this dismissal. I declare under penalty of perjury under the
 4

 5     laws of the United States that the foregoing is true and correct.
 6

 7     DATED: April 16, 2019                       PRATO & REICHMAN, APC
 8
                                                   __/s/ Justin Prato Esq.______
 9
                                                   By: Justin Prato, Esq.
10                                                 Prato & Reichman, APC
                                                   Attorneys for Plaintiff
11
                                                   DAVID DOYLE
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                              Stipulation of Voluntary Dismissal Of Entire Action
     Case 2:18-cv-05412-DMG-FFM Document 22 Filed 04/16/19 Page 4 of 4 Page ID #:106




 1
                                  CERTIFICATE OF SERVICE
 2     I hereby certify that the above and foregoing instrument was served upon all
 3     counsel of record in the above entitled and numbered cause on the date listed
       below.
 4

 5

 6
             __X__ Via ECF

 7

 8     Kimberly A. Wright, Esq.
       Revolve Law Group, LLP
 9
       Attorneys for Defendant
10     FAST ADVANCE LLC
11

12     DATED: April 16, 2019                       PRATO & REICHMAN, APC
13

14

15                                                 __/s/ Justin Prato Esq.______
                                                   By: Justin Prato, Esq.
16
                                                   Prato & Reichman, APC
17                                                 Attorneys for Plaintiff
18
                                                   DAVID DOYLE

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                              Stipulation of Voluntary Dismissal Of Entire Action
